       Case 2:13-cr-00015-BMM Document 47 Filed 12/09/22 Page 1 of 3



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            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                       BUTTE DIVISION


UNITED STATES OF AMERICA,                Case No. CR-13-15-BU-SEH

              Plaintiff,                      DEFENDANT’S
                                                OPPOSED
vs.                                       MOTION TO REDUCE
                                        SENTENCE PURSUANT TO
DACOTA ROBERT ROGERS,                     18 USC §3582(c)(1)(A)(i)

             Defendant.


      Dacota Robert Rogers (hereafter “Mr. Rogers”), by and through

retained counsel, Anthony R. Gallagher, respectfully moves pursuant to 18

USC §3582(c)(1)(A)(i) for an order reducing his sentence to time-served

based on the “extraordinary and compelling” reasons as set forth in detail

in the brief that supports this motion, which has been contemporaneously

filed with the Court.

                                    1
       Case 2:13-cr-00015-BMM Document 47 Filed 12/09/22 Page 2 of 3



     Mr. Rogers states as grounds for his motion pursuant to the First

Step Act that this Court has jurisdiction to determine whether

“extraordinary and compelling reasons” warrant a reduction in his sentence

after consideration of sentencing factors under 18 USC §3553(a) and the

Sentencing Commission’s policy statement on reduction of sentence in

USSG §1B1.13. Mr. Rogers has a solid release plan as articulated in the

Memorandum contemporaneously filed with this Motion in accord with

Local Rule CR 47.2.

     The United States has been contacted as required by Local Rule CR

47.1. Assistant United States Attorney Tara J. Elliott advised that the

Government opposes this Motion.

     RESPECTFULLY SUBMITTED this 9th day of December 2022.

                                  /s/ Anthony R. Gallagher
                                  Attorney for Dacota Robert Rogers




                                    2
        Case 2:13-cr-00015-BMM Document 47 Filed 12/09/22 Page 3 of 3



                      CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2022, a copy of the foregoing

document was served on the following persons by the following means:

1, 2        CM-ECF
  4         Mail
  3         E-Mail

1.     CLERK,                             3.   U.S. Probation Office
       U.S. DISTRICT COURT                          Great Falls

2.     TARA J. ELLIOTT                    4.   DACOTA R. ROGERS
       Assistant U.S. Attorney                    Defendant
            Counsel for United States


                             /s/ Anthony R. Gallagher




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